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HUASCAR GALVEZ MONTOYA
Reg. No. 75925-308

FCI McDowell RE CE

FEDERAL CORRECTIONAL INSTITUTION

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Dig re
U.S. DISTRICT COURT TAICT op puRT
SOUTHERN DISTRICT OF IOWA (Central)
HUASCAR MONTOYA, Cs. No. 4:12-cr-00123-SHL-HCA-I
Petitioner, CONSOLIDATED MOTION:
MOTION FOR SENTENCE

Vs. REDUCTION UNDER 18 U.S.C. § 3582,

et seq. and USSG 1B1.10(3), (Pursuant
UNITED STATES OF AMERICA, to Amendment 821— Downward

Plaintiff. Adjustment; Amendment 814) AND
MOTION FOR APPOINTMENT OF
COUNSEL

COMES NOW, the Petitioner, a pauper in Federal Custody, acting pro
se, respectfully moves this Court pursuant Amendment 814 and 821, in
addition, to the newly-amended 18 U.S.C. § 3582, et seq., for an order reducing
his sentence to time served based on several factors, that together satisfy
“extraordinary and compelling reasons”. Petitioner’s Compassionate Release
Motion satisfies the “extraordinary and compelling reasons” standard under §
3582(c)(1)(A)(i), as elaborated by the Sentencing Commission in U.S.S.G. §
1B1.13. After considering the applicable factors set forth in 18 U.S.C. §
3553(a), Petitioner respectfully requests that the Court reduce Petitioner’s
sentence to time served and modify to the most strictest conditions the terms of

supervised release to accommodate his probation.
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PRO SE CAPACITY

Petitioner respectfully requests this honorable Court liberally construe
and hold Petitioner’s motion to a standard “less stringent than those crafted by
attorneys” Haynes v. Kerner, 404 U.S. 519, 520 (S. Ct. 1972); See also, Ayala
Serrano v. Gonzalez, 909 F.2d 8, 15 (1" Cir. 1991).

AMENDMENT 814
REDUCTION IN SENTENCE PURSUANT TO SECTION 3582(C)(1)(A)

UNDER AMENDMENT 814, effective November 1, 2023, The
amendment revises §1B1.13 (colloquially referred to as the Commission’s
“Compassionate Release” policy statement) to reflect that a defendant is now
authorized to file a motion under 18 U.S.C. § 3582(c)(1)(A), making §1B1.13
applicable to both defendant filed and BOP-filed motions. The amendment
expands the list of “extraordinary and compelling reasons” in five ways to
better account for the plain language of section 3582(c)(1)(A) and its legislative
history, to reflect the reasons relied upon by many courts after passage of the
First Step Act in the absence of a binding policy statement, and to account for
recent experiences—including those pertaining to the pandemic: (1) adds
“Medical Circumstances” subcategories; (2) modifies the “Family
Circumstances” category; (3) adds a “Victim of Abuse” category; (4) revises
the “Other Reasons” category; and (5) adds an “Unusually Long Sentences”
category, permitting consideration of non-retroactive changes in law in a

narrow set of circumstances.

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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG
1B1.10(3), (Pursuant to Amendment 821— Downward Adjustment; Amendment 814) AND
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DISCUSSION ON RETROACTIVE AMENDMENT 821

Petitioner submits that Amendment 821 became effective on November
1, 2023. However, Petitioner submits that 1B1.10 Commentary Application
Notes (1)(B)(iii) calls for review of post sentencing conduct. Petitioner has
actively participated in and completed multiple evidence-based recidivism
reduction programs and BOP assigned courses, which have positively impacted
Petitioner’s rehabilitation efforts. Furthermore, as indicated in the risk and
needs assessment (PATTERN) Report — which analyzes a prisoner’s likelihood
of recidivating — Petitioner is currently categorized as a low recidivism level.
Also, and not importance, Petitioner has been incarcerated during the COVID-
19 pandemic locked down in solitary confinement, which been unusually harsh

and inhumane and demoralizing (which is a 18 USC Section 3553(2) factor).

RELEVANT FACTS AND PROCEDURAL HISTORY

Petitioner was convicted of the following, resulting in a mandatory
minimum on each:

CONSPIRACY TO DISTRIBUTE _ Defendant is sentenced to the custody of the BOP for
CONTROLLED SUBSTANCE 240 months on Count 1s. Upon release Defendant

21:846 and 841 (b)(1)(A) shall be immediately placed on Supervised Release of
(Conspiracy to Distribute 60 months on Count 1s. The Defendant is ordered to
Methamphetamine) pay $100 to the Crime Victims Fund. Defendant is
(Is) advised of appeal rights.

Petitioner argues that he qualifies for a reduction pursuant to United
States v. Raul Cruz, Case No.: 2:12-cr-00076-PD (USDC EDPenn. 2/6/2024).

A. United States v. Hicks

Petitioner submits that in United States v. Hicks, the Ninth Circuit
acknowledged that Booker vested sentencing judges with the discretion to
disagree with not only a specific sentencing guideline, but with the Sentencing

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Commission’s policy statements as well. It did so, moreover, in the context of a
proceeding to reduce a sentence under 18 U.S.C. § 3582(c). The Court observed
that § 3582(c)(2) “allows the district court to re-calculate the defendant’s
sentencing range using the newly reduced Guideline, and then determine an
appropriate sentence in accordance with § 3553(a) factors.” Booker’s “clear
language,” the Court further noted, “makes the [re-calculated] range advisory.”

The Court explained:

Booker explicitly stated that, “as by now should be clear, [a]
mandatory system is no longer an open choice.” Booker, 543
U.S. at 263 .... Although the Court acknowledged that
Congress had intended to create a mandatory Guidelines
system, Booker stressed that this was not an option: “[W]e
repeat, given today’s constitutional holding, [a mandatory
Guideline regime] is not a choice that remains open.... [W]e
have concluded that today’s holding is fundamentally
inconsistent with the judge-based sentencing system that
Congress enacted into law. Id. at 265 .... The Court never
qualified this statement, and never suggested, explicitly or
implicitly, that the mandatory Guideline regime survived in
any context.

In fact, the Court emphasized that the Guidelines could not be
construed as mandatory in one context and advisory in
another. .... [T]he Court dismissed this notion, stating, “we do
not see how it is possible to leave the Guidelines as binding in
other cases.... [W]e believe that Congress would not have
authorized a mandatory system in some cases and a
nonmandatory system in others, given the administrative
complexities that such a system would create.” Id. at 266 ....
In short, Booker expressly rejected the idea that the
Guidelines might be advisory in certain contexts an not in
others, and Congress has done nothing to undermine this
conclusion. Id.

Accordingly, “Because a ‘mandatory system is no longer an open
choice,’ ... district courts are necessarily endowed with the discretion to depart
from the Guidelines when issuing new sentences under § 3582(c)(2).”
“Mandatory Guidelines,” the Ninth Circuit concluded, “no longer exist, in this

context or any other.” That being so, the final clause of § 3582(c)(2) — limiting

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a reduction to one that is “consistent with applicable policy statements issued
by the Sentencing Commission” —- must be read to require no more than

application of the Guidelines in an advisory, rather than a mandatory fashion

The Ninth Circuit further considered what effect the Sentencing Commission’s
policy statements should have in a § 3582(c)(2) proceeding after Booker.
Addressing whether the policy statements set forth USSG § 1B1.10 (Nov.
2000) preclude a district court from “go[ing] below the Guidelines’ minimum
when modifying a sentence under § 3582(c)(2),” the Ninth Circuit held they did
not, and — important here — that even if they did, they “must be void” under
Booker.

The pre-Booker version of USSG § 1B1.10 that the Court confronted in
Hicks provided that “the court should consider the term of imprisonment that it
would have imposed had the amendment[s] to the guidelines listed in
subsection (c) been in effect at the time the defendant was sentenced[.]” An
application note added that “the court shall substitute only the amendments
listed in subsection (c) for the corresponding guideline provisions that were
applied when the defendant was sentenced. All other guideline application
decisions remain unaffected.” And background commentary remarked that
reductions of retroactive Guideline amendments were “discretionary” and did
“not otherwise affect the lawfulness of a previously imposed sentence, [did] not
authorize a reduction in any other component of the sentence, and [did] not
entitle a defendant to a reduced term of imprisonment as a matter of right.”

In holding that these policy statements did not preclude a court from
treating the re-calculated guideline range as advisory, the Court emphasized that
§ 1B1.10(b) “state[d] only that the court ‘should consider the term of
imprisonment that it could have imposed ...,’ and not that it may only impose

that sentence.” The Court similarly observed that, “just because Hicks is not

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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG
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entitled to a sentence reduction as a matter of right does not mean that he may

not be entitled to one as a matter of discretion.”

B. Petitioner has extraordinary and compelling reasons justifying a
sentence reduction.

Petitioner’s current sentence presents “extraordinary and compelling
reasons” for three reasons: First, Petitioner has been incarcerated for several
years of his sentence. Second, Petitioner received an unusually long sentence
his minimal participation. And third, Petitioner has a remarkable record of
rehabilitation showing that, if released, he is no danger to the public. See
Appendix A.

C. With Full Consideration Of The § 3553(a) Factors, Petitioner’s Time
Served Constitutes A Sentence Sufficient But Not Greater Than
Necessary To Accomplish The Goals Of Sentencing.

Under all of the circumstances in this case, this honorable Court should
conclude that the time that Petitioner has already served is sufficient to satisfy
the purposes of sentencing. Under Pepper v. United States, 562 U.S. 476, 490-
93 (2011), the Court can, and indeed must, consider post-offense developments
under § 3553(a), which provides “the most up-to-date picture” of the
defendant’s history and characteristics and “sheds light on the likelihood that
[the defendant] will engage in future criminal conduct.” Id. at 492.

Here, the overriding factor under § 3553(a) that was not present at the
time of sentencing is Petitioner history of remorse, and post-rehabilitation.
Although the circumstances of the present offense and Petitioner’s conduct
qualified him for the serious sentence that this Court originally imposed,
Petitioner’s health at the time of sentencing provided no indication that the
sentence would be, in effect, a sentence with a probability to die in prison.

As recognized in the Sentencing Commission’s policy statement on

physical condition, extraordinary impairments provide reasons for downward
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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG

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departures for “seriously infirm” defendants, including to home detention at
initial sentencing “as efficient as, and less costly than, imprisonment.” U.S.S.G.
§ 5H1.4; see also 18 U.S.C. § 3553(a)(2)(D) (consideration of providing
needed medical care in the most effective manner). Petitioner’s extensive post-
rehabilitation, physical and mental condition following his medical history
forecloses a probability of dangerous recidivism. Further, at 56 years old,
Petitioner’s age places him in the class of prisoners least likely to recidivate.
United States Sentencing Commission, The Effects of Aging on Recidivism
Among Federal Offenders (December 2017). Having undergone several years
of incarceration, and having experienced physical and mental deterioration
during the pandemic, Petitioner does not constitute a danger to any other person
or to the community.

Petitioner is not the same person this honorable Court sentence about a
years ago. The Court should conclude that the years of the sentence already
served has sufficiently met the purposes of sentencing after considering

Petitioner’s extraordinary and compelling circumstances.

D. The Conditions Of Supervised Release Should Be Modified To

Accommodate The Reasons For The Sentencing Reduction.

Petitioner respectfully should be allowed to formulate a solid release plan
with the assistance of Counsel and the Probation Office during the
administrative compassionate release proceedings. Petitioner’s immediate
relatives/family provides familial, financial, religious, mental and health
support.

Accordingly, if the Court grants this motion, Petitioner would ask the Court
to impose the strictest conditions and terms of supervised release to

accommodate his probation-approved release plan.

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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG
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E. Petitioner Submits that Mitigating Character Letters are an Additional
Factor to Support extraordinary and compelling reasons justifying a
sentence reduction.

Most importantly, Petitioner respectfully requests Leave from this
honorable Court to allow for immediate family members and friends, potential
employers, and other individuals acquainted and known to Petitioner to submit
and be acknowledged mitigating character letters in support for the § 3553(a)
analysis. See, United States v. Handlon, 53 F. 4" 348 (5" Cir. 2022).

F. Recidivism Studies - Petitioner is Not a Danger or Risk to the
Community

The USSG Commission (the Commission) recent studies demonstrate
rehabilitation exist in the BOP and is working while recidivism is less likely to
recur with aged defendants over 50 as compared with younger 20 year olds. See
Recidivism Among Federal Offenders A Comprehensive Overview 23
(2016), Recidivism Among Federal Firearm Offenders (2019); The Effect of
Aging on Recidivism Among Federal Offenders (2017) (determining
recidivism in adults is sliced by more than 50% compared to young adults at
21%). Most recently, recidivism among those who received Section 3582(c)
minus-tow (Amendment 782) (2014) reduction and only a minor fraction
recidivated while for minor infractions such as supervise release violations and
minor as oppose to serious crimes or felonies.

Petitioner nears his 49" birthday, among other issues now present. The

conduct ended long ago, and Petitioner has refrained from a life of crime long

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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG
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before his conviction. Petitioner is less likely to recidivate and prepared to
function as benign citizen upon release.

The U.S. Sentencing Commission assigns a value of 470 months (39 years
and two months) to sentence of life imprisonment for any statistical analysis in
which a term of months is required. See US. Sent Comm/’n, 2013
SOURCEBOOK OF FEDERAL SETNENCING STATISTICS S-170
(2014). This sentence length is consistent with the average life expectancy of
federal criminal defendants. The U.S. Sentencing Commission has recently
determined federal incarcerated individuals’ life expectancy at 64 years. Thus,
Petitioner’s several year sentence nearing several years-time served with
remaining several years of life expectancy. A reduction in sentence to near or
immediate release will still reflect the seriousness of the offense of conviction
and has send a strong message to others.

G. Request For Appointment Of Counsel

Petitioner has been attempting to obtain his case documents in order,
however, his incarcerated status makes it difficult to obtain his original
judgment, plea agreement, sentencing transcripts, etc. Petitioner at this time is
unable to properly brief and calculate Petitioner’s new guideline range based
under Amendment 821 and 814.

Petitioner, acting pro se, drafted his Motion under Amendment 821,
however, in the abundance of caution, Petitioner is unable to explain how
Petitioner’s criminal history points and guideline range would be different

under Amendment 821/814 because of the lack of proper documentation and

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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG
1B1.10(3), (Pursuant to Amendment 821— Downward Adjustment; Amendment 814) AND
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professional assistance. Petitioner requests assistance to obtain his
documentation. Petitioner will be able to provide this honorable Court with a
detailed explanation on how Petitioner’s criminal history points and guideline
range would be different under Amendment 821/814.

Petitioner does not have an attorney. Petitioner respectfully requests an
attorney be appointed to help Petitioner in properly briefing the application of
Amendment 821/814, and obtain the documents and evidence surrounding
housing, Family, Employment and necessary information and medical
documents.

For this reason, Petitioner respectfully submitted additional motions

related to this motion, and a request for counsel.

CONCLUSION
For the foregoing reasons, Petitioner respectfully requests that the Court
grant reduction in sentence to time served and amend the conditions of

supervised release as requested.

August 1, 2024

Respectfully sfibmitted,

Reg. No. 75925-308
FCI McDowell
FEDERAL CORRECTIONAL
INSTITUTION

P.O.BOX 1009

WELCH, WV 24801

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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG
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HUASCAR GALVEZ MONTOYA

Reg. No. 75925-308
FCI McDowell

FEDERAL CORRECTIONAL INSTITUTION

P.O.BOX 1009
WELCH, WV 24801

U.S. DISTRICT COURT

SOUTHERN DISTRICT OF IOWA (Central)

HUASCAR MONTOYA,
Petitioner,
Vs.

UNITED STATES OF
AMERICA,

Plaintiff.

Cs. No. 4:12-cr-00123-SHL-HCA-
1

MOTION FOR AN ORDER
DIRECTING THE
GOVERNMENT TO
PROCURE/PRODUCE
PETITIONER’S
POST-REHABILIATION
DOCUMENTS

IN SUPPORT OF: 18 U.S.C. §

3582, et seq:

Petitioner respectfully submits that all his records to his documents are
available with his Unit Counselor at FCI McDowell, FEDERAL
CORRECTIONAL INSTITUTION, P.O.BOX 1009, WELCH, WV 24801.

The petitioner has attempted to obtain all his documents to provide the Court to

no avail.

August 1, 2024

HUASCAR GALVEZ MONTOYA
Reg. No. 75925-308

FCI McDowell

FEDERAL CORRECTIONAL
INSTITUTION

P.O.BOX 1009

WELCH, WV 24801

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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG
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Reg. No. 75925-308

FCI McDowell

FEDERAL CORRECTIONAL INSTITUTION
P.O.BOX 1009

WELCH, WV 24801

U.S. DISTRICT COURT
SOUTHERN DISTRICT OF IOWA (Central)

HUASCAR MONTOYA, Case No. 4:12-cr-00123-SHL-HCA-1

Petitioner, MOTION FOR AN ORDER

DIRECTING THE GOVERNMENT
Vs TO PROCURE/PRODUCE
PETITIONER’S MEDICAL
RECORDS AND ADDITIONAL
UNITED STATES OF AMERICA, INFORMATION IN SUPPORT OF
MOTION FOR SENTENCE
Respondent. REDUCTION UNDER 18 U.S.C. §

3582, et seq.

Medical records and additional medical are available at the BOP Medical
Department, Medical Department BOP at FCI McDowell, FEDERAL
CORRECTIONAL INSTITUTION, P.O.BOX 1009, WELCH, WV 24801.
The petitioner has attempted to obtain all his Medical Records to provide the
Court to no avail. The petitioner submits that it is difficult to obtain documents
from staff due to restrictions and burdens placed on inmates due to institutional
restrictions or burdens placed on inmates, or understaffing and counselors are

rarely available.

August 1, 2024

Reg. No. 75925-308

FCI McDowell

FEDERAL CORRECTIONAL
INSTITUTION

P.O.BOX 1009

WELCH, WV 24801

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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG
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CERTIFICATE OF SERVICE

I, HUASCAR GALVEZ MONTOYA, Reg. No. 75925-308, hereby certify that
I have served a true and correct copy of:

MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq.,
(Pursuant to Amendment 821 — 814); MOTION FOR AN ORDER DIRECTING THE
GOVERNMENT TO  PROCURE/PRODUCE PETITIONER’S POST-
REHABILIATION DOCUMENTS; MOTION FOR AN ORDER DIRECTING THE
GOVERNMENT TO PROCURE/PRODUCE PETITIONER’S MEDICAL RECORDS
AND ADDITIONAL INFORMATION AND MOTION FOR APPOINTMENT OF
COUNSEL, ET AL.

[which is considered filed/served at the moment it was delivered to prison
authorities for mailing as provided for in Houston v. Lack, 487 U.S. 266, 101
complete copy of the above-described materials in a sealed envelope affixed

with the appropriate pre-paid first-class United States postage: |

Iowa Southern District Court — Des Moines, IA
123 East Walnut Street
Des Moines, IA 50309-2035

and deposited same with prison officials here at:

FCI McDowell

FEDERAL CORRECTIONAL INSTITUTION

P.O.BOX 1009

WELCH, WV 24801

Pursuant to Title 28 U.S.C. Section 1746, I declare under penalty of perjury that

the foregoing is true and correct.

August 1, 2024

OYA

Reg. No. 75925-308
FCI McDowell
FEDERAL CORRECTIONAL
INSTITUTION

P.O.BOX 1009

WELCH, WV 24801

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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG
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MOTION FOR APPOINTMENT OF COUNSEL
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APPENDIX A

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MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582, et seq. and USSG
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MOTION FOR APPOINTMENT OF COUNSEL
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=~ Certificate of Achievement <=

This certifies that

Huascar Montoya

has satisfactorily completed

Narcotics Anonymous

Consisting of __,, Hours of Training

This certificate is hereby issued this _10th day of April

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)

Certificate of Achievement
This certifies that

Huascar Montoya
Reg, #75925-308

has satisfactorily completed
WRITTEN COMMUNICATIONS

Consisting of 12 hours of Training

This certificate is hereby issued this 29th day of Sept., 2015

Psychology Services Department
Federal Corrections Complex (Low)
Beaumont, Texas 77720

_ Gardiner
Secretary, Psychology Services

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Certificate of Achievemen
This certifies that

Huascar Montoya
Reg. #75925-308

has satisfactorily completed
Anger Management

Consisting of 12 hours of Training

This certificate is hereby issued this 10th day of Nov. , 2015

Psychology Services epartment
Federal Corrections Complex (Low)

Secretary, Psy

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Certificate of Achievement

Huascar Montova

has completed the required coursework for

Bienes Raices

Awarded this 15th day of December, 2015.

WM. Kobinson L. Devereans

M. Robinson, Assistant Supervisor of Education L. Devereaux, A.C.E. Coordinator

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ertificate of Achievement

Huascar Hlontopa

has completed the required coursework for

Personal Finance

Awarded this 14th day of December, 2015.

WH, Ko binsow L. Devereanaz

M. Robinson, Assistant Supervisor of Education L. Devereaux, A.C.E. Coordinator

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ertificate of Achievement
This certifies that

Huascar Montoya
Reg. #75925-308

has satisfactorily completed

Stress Management

Consisting of 12 hours of Training

This certificate is hereby issued this 29th_ day of sept., 2015

Psychology Services Department
Federal Corrections Complex (Low)
_ Beaumont, Texas 77720

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Gardiner, A.
Secretary, Psychology Services

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This certifies that

Huascar Montoya
Reg, #/75925-308

has satisfactorily completed
ANXIETY & PHOBIA MANAGEMENT
Consisting of 12 hours of Training

This certificate is hereby issued this iotnh_ day of yov. , 2015

Psychology Services Department
Federal Corrections Complex (Low)

Gardiner, A,
Secretary, Psychology Services

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Huascar Montoya, Reg.#/75925-308

RE-ENTRY 180

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CERTIFICATE of ACHIEVEMENT

This certifies that

vo one os iy oF
~~ H. Montoya Ss_"

Has successfully completed Lifeskills
and has earned 24 RPP hours in Sentry

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4). Jano Dd. 2a- 201%

Date
Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 24 of 41

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Huascar Montoya
Little Lambs School of the Bible

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A Dohn & Eileen Sala Ministuy
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Sebring, Ht 33870

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© GOES 34625 LITHO IN U.S.A,
Huascar Montoya
Little Lambs School of the Bible

1 was in prisot and you visited me. Matthew 25.3 6

A John & Giteen Sata Ministry
710 S. Eucatyputs St,
Sebring, Fl 33870

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Montoya, Huascan 75925-30

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: for

Exercise and Mental Health
T. DICKENS Sports Specialist 04/18/2021

~ Signature ‘Date

FCI McDowell Recreation

Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 27 of 41

Campo de Batalla de el Mente

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January 30, 2017
Presento Para

Huascar Montoya #/5925-308

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Chaplain H. Collier

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This certifies that

/ :
AWM MA 4
Monloyar euaxcr~
has satisfactorily completed
1 hour of

HEALTHY HEART LIVING

This certificate is hereby issued this
6th day of May 2016

hilly LACUS? Health Service Administrator
Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 29 of 41

== Certificate of Achievement <==

This certifies that

Huascar Montoya

has satisfactorily completed
Learning Spanish

Consisting of _27° Hours of Training

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This certificate is hereby issued this a day of va » 2

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Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 30 of 41

This certifies that

has satisfactorily completed

1 hour of

This certificate is hereby issued this
14th day of April, 2017

Kelly. Lucas, Health Service Administrator
Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 31 of 41

This certifies that

Huascar Mont OYr
has satisfactorily completed
1 hour of

MANAGING HIGH BLOOD PRESSURE

This certificate is hereby issued this
March 29, 2018

Kelly Lucas, Health Service Administrator
Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 32 of 41

H. MONTOYA

Has successfully completed the TPC Training System Making Measurements

and has earned 15 hours in Sentry.

TEACHER: A. Jono BhSI IS

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Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 33 of 41

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H MONTOYA 2

: Has successfully completed the TPC Training System Mathematics in the Plant

and has earned 15 hours in Sentry.

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Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 34 of 41

Certificate

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FOR SUCC!

MATHEM:

EDUC

J. COLOBRO

TPC COORDINATOR

Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 35 of 41

LAMAR STATE COLLEGE - PORT ARTHUR
PORT ARTHUR, TEXAS

This is to certify that

HUASCAR MONTOYA

has successfully completed

INDUSTRIAL SEWING

conducted by the

Date SEPTEMBER 2, 2015 240 CLOCK HOURS

hola rrrohas La Boubera Poke

Dean of Technical Programs Program Director

Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 36 of 41

CERTIFICATE OF RECOGNITION

AWARDED TO

Huascar Montoya

75925-308

For his completion of the self-help book study
“Decide! How to Make Any Decision”
at FCI McDowell

M. Williams, M.A. /
Drug Treatment Specialist

FP

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Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 37 of 41

-: sto certifica que

ha completado el curso biblico de Laimpara yp Wuz

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habiends ganado una calificacién de

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y Luz, 26 Road 3577, Farmington, 8M 87401 EEUU.

Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 38 of 41

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NMLBTAO! REUU. 13 de diciembre de 2017.

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EDIFICANDO. HOGARES CRISTIANOS |
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Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 40 of 41

== Certificate of Achievement <==

This certifies that

Huascar Montoya

has satisfactorily completed

Narcotics Anonymous

Consisting of __,, Hours of Training

This certificate is hereby issued this _31st_ day of January

he Chr CCC

Case 4:12-cr-00123-SHL-HCA Document 304 Filed 08/08/24 Page 41 of 41

HUASCAR GALVEZ MONTOYA
“REG. NO. 75925-308 ss
FCIMCDOWELL

FEDERAL CORRECTIONAL INSTITUTION

PO BOX 1009
WELCH, WV 24801

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF IOWA
123 EAST WALNUT STREET

DES MOINES, IA 50309-2035
